UNITED STA TES DISTRICT COURT F f ' " - '-"-'~’1.
WESTERN DISTRICT OF TENNESSE’Y"&*;*: 3 e,- »>.
WESTERN DIVISIoN " `“

    
  

PAMELA M . BROWN and JUDGME I

JONAT W. BROWN NT N A CIVIL CASE
v l

HOMER SKELTON FORD, INC . CASE NO: 04 -2 3 69 -D

 

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order
Compromise And Dismissal With Prejudice entered on May 2, 2005,
this cause is hereby dismissed with prejudice.

APPRO'V'ED :

 

ITED STATES DISTRICT COURT ROBERTR D| TROL|O

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Clerk of Court

%,MOm/LA

(Byf nepgty Clerk

Date

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Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
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ESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

